                          Case 14-50333-gs              Doc 169     Entered 08/18/14 17:13:52       Page 1 of 4



                     1   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     2   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797
                     3   Law Offices of Alan R. Smith
                         505 Ridge Street                                                  ELECTRONICALLY FILED
                     4   Reno, Nevada 89501                                                   August 18, 2014
                         Telephone (775) 786-4579
                     5   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                     6
                         Attorney for Debtors
                     7   ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                     8
                     9                                  UNITED STATES BANKRUPTCY COURT
                 10                                                DISTRICT OF NEVADA
                 11                                                      —ooOoo—
                 12      In Re:                                                  Case No. BK-N-14-50333-BTB
                                                                                 Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                           Chapter 11 Cases
                 14
                                                                                 [Jointly Administered]
                 15      AT EMERALD, LLC,
                                                                                 MOTION TO WITHDRAW AS
                 16                                                              ATTORNEY OF RECORD
                 17
                                    Debtors,                                     Hearing Date: OST Pending
                 18      ______________________________/                         Hearing Time: OST Pending
                 19               ALAN R. SMITH, ESQ., of the Law Offices of Alan R Smith (hereinafter “Movant”), moves
                 20      this Court to allow him to withdraw as attorney of record for Debtors ANTHONY THOMAS and
                 21      WENDI THOMAS and Debtor AT EMERALD, LLC, (hereinafter “Debtors”), in the above-
                 22      entitled matter pursuant to Rule 166 of the Supreme Court Rules of the State of Nevada and Nevada
                 23      Rules of Professional Conduct 1.16. This Motion is made and based upon the following Points and
                 24      Authorities, and the pleadings and papers on file in this case.
                 25                                               POINTS AND AUTHORITIES
                 26               Supreme Court Rule of Professional Conduct 1.16, made applicable by Local Rule IA 10-
                 27      6(b) and (e), provides that:
                 28                                   No attorney may withdraw after appearing in a case except by
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                          Case 14-50333-gs              Doc 169         Entered 08/18/14 17:13:52        Page 2 of 4



                     1                      leave of Court after notice has been served on the affected client and
                                            opposing counsel.
                     2
                                  Movant has appeared on behalf of Debtors in this matter and therefore brings this Motion for
                     3
                         leave to withdraw as their counsel of record. Movant’s withdrawal is not expected to cause any
                     4
                         delay in these proceedings.
                     5
                                  Nevada Supreme Court Rule 1.16, made applicable by Local Rule 1A 10-6, provides as
                     6
                         follows:
                     7
                                            (b)    Except as stated in paragraph (c), a lawyer may withdraw
                     8                      from representing a client if:
                     9                                (1)         withdrawal can be accomplished without material adverse effect on
                                                                  the interests of the client;
                 10
                                                      ...
                 11
                                                      (6)         The representation will result in an unreasonable financial burden on
                 12                                               the lawyer or has been rendered unreasonably difficult by the client;
                                                                  or
                 13
                                                      (7)         Other good cause for withdrawal exists.
                 14
                 15               In the case, Debtors have failed substantially to fulfill various obligations to Movant as
                 16      specified in the agreement between those parties. Specifically, Debtors have refused to communicate
                 17      timely and effectively with Movant. Further, Movant and the Debtors have come to an impasse
                 18      regarding certain aspects of Movant’s representation that Movant believes cannot be overcome.
                 19      Movant believes that because of the difference of opinion as how best to proceed in this case, he can
                 20      no longer effectively represent the Debtors. As a result an adversarial relationship has developed,
                 21      and Movant has sought withdrawal.
                 22               Movant believes that his withdrawal as counsel for Debtors will not adversely affect Debtors.
                 23      Movant has provided reasonable written warning to Debtors of his intention to withdraw because
                 24      of their failure to communicate and the disagreements between the parties. As a result, there is good
                 25      cause for Movant’s withdrawal as counsel of record.
                 26      ///
                 27      ///
                 28      ///
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                          Case 14-50333-gs              Doc 169   Entered 08/18/14 17:13:52    Page 3 of 4



                     1            WHEREFORE, it is respectfully requested that this Court enter its order permitting the
                     2   immediate withdrawal of The Law Offices of Alan R. Smith, as attornies of record for the Debtors,
                     3   and that all further pleadings and correspondence with regard to this matter be forwarded to Debtors
                     4   at their last known address as follows:
                     5            AT Emerald, LLC
                                  c/o Anthony & Wendi Thomas
                     6            7725 Peavine Peak Court
                                  Reno, NV 89523
                     7
                                  Anthony & Wendi Thomas
                     8            7725 Peavine Peak Court
                                  Reno, NV 89523
                     9
                 10
                                  DATED this 18th day of August, 2014.
                 11
                                                                         LAW OFFICES OF ALAN R. SMITH
                 12
                 13                                                            /s/ Alan R. Smith
                                                                         By_______________________________________
                 14                                                        ALAN R. SMITH, ESQ.
                                                                           Attorney for Debtor
                 15
                 16
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                          Case 14-50333-gs              Doc 169     Entered 08/18/14 17:13:52   Page 4 of 4



                     1                                            CERTIFICATE OF MAILING
                     2            Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
                     3   R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and
                     4   correct copy of the attached document addressed as follows:
                     5            AT Emerald, LLC
                                  c/o Anthony & Wendi Thomas
                     6            7725 Peavine Peak Court
                                  Reno, NV 89523
                     7            atemerald2@gmail.com
                                  wendithomas6@gmail.com
                     8
                                  Timothy A. Lukas, Esq.
                     9            Holland & Hart, LLP
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                                  Kevin A. Darby, Esq.
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                                  Stefanie T. Sharp, Esq.
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                                  Wayne A. Silver, Esq.
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                                  Sunnyvale, CA 94087
                 19               w_silver@sbcglobal.net
                 20               Amy N. Tirre, Esq.
                                  Law Offices of Amy N. Tirre, APC
                 21               3715 Lakeside Dr., Ste. A
                                  Reno, NV 89509
                 22               amy@amyttirrelaw.com
                 23               Joseph G. Went, Esq.
                                  Holland & Hart, LLP
                 24               9555 Hillwood Drive, 2nd Floor
                                  Las Vegas, NV 89134
                 25               jgwent@hollandhart.com
                                                                           /s/ Debra L. Goss
                 26      Dated: August 18, 2014                      By:_______________________________________
                                                                                  Debra L. Goss, Employee
                 27
                 28
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